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                        SUPERIOR COURT OF NEW JERSEY
                           LAW DIVISION CIVIL PART- ESSEX VICINAGE




                                                                               Civil Action
  MATTHEW SWAIN,


       Plaintiffs,                                             Docket Number: L-4996-16


  v.
                                                                   ORDER
                                                          . --- ·-~,-  - - -~
  HERMES OF PARIS; LORENZO
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                                                                             ' I I'
  BAUTISTA, INDIVIDUALLY; ABC
  CORPORATION(S) 1-5; AND JOHN                           l11
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  AND/OR JANE DOE(S) 1-5,                                \u          I MAY 2 s 2am              l' ~ 1,
       Defendants.                                       1
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                                                                     Hon. Ketth E. Lynott, J.S.C.
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        This matter having been opened to the Court by Plaintiff Matthew Swain, on motion to

reinstate his Complaint; and the Court having reviewed the motion and the papers submitted

therewith and having heard the arguments of counsel; and for good cause shown:

IT IS on this ~      day of May, 2018 ORDERED that

            1) The Plaintiff Matthew Swain's motion is denied; and

            2) The Defendant shall serve all parties with a copy of this Order within seven (7)

                  days of receipt of the same.




A Statement of Reasons is attached herewith.
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X     Opposed

      Unopposed




                                                Hon. Keith E. Lynott, J.S.C.
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       In this action under the New Jersey Law Against Discrimination, N.J.S.A. 10:5-12

("LAD"), the Plaintiff Matthew Swain seeks reinstatement of his Complaint on the basis that the

Defendants Hermes of Paris, Inc. ("Hermes") and Lorenzo Bautista ("Bautista") breached the

arbitration provisions of parties' contract. For the reasons set forth herein, the Court denies the

motion.

       Mr. Swain relies upon a Certification of Christopher Hager, Esq., counsel for the Plaintiff,

with attached Exhibits and a Brief and Reply Brief. HOP relies upon a Brief.

Findings of Fact

       The Court finds the following facts are pertinent to the disposition of this motion:

       The Plaintiff was employed by Hermes as the Managing Director of its boutique at the Mall

at Short Hills. He began employment at Hermes on July 31, 2015. Prior to that time, he had been

the General Manager of the store operated by Gucci America, Inc. with responsibility for its

boutique and a separate shop at the Mall at Short Hills.

          He contends that, in the course of his employment with Hermes, he was subjected to slurs

and epithets relating to his sexual orientation. He asserts that Hermes unlawfully terminated his

employment in November 2015 after he reported the improper treatment to corporate management.

In his Complaint, filed July 19, 2016, he asserts claims under the LAD for discrimination based

upon sexual orientation, hostile work environment, and retaliation. He also asserts a claim against

Bautista, a fellow employee, contending that Bautista aided and abetted the LAD violations by

Hermes. Finally, he asserts a claim against Hermes for breach of contract.

          Mr. Swain is party to a written letter agreement with Hermes dated August 10, 2015 and

executed by Swain on August 28, 2015. The DRP provides as follows:
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       Step 1. (Internal Channels)
        Employees who have a complaint or concern should speak to their supervisor. If they do
not feel comfortable doing so, or the complaint or concern involves the supervisor, employees
should contact the SVP or Senior Director of HOP [Hennes] Human Resources. Our hope is that
most disputes can be resolved through these internal discussions.

       Step 2. (External Mediation)

        If a dispute is not resolved, either you or HOP will have the opportunity to discuss and
hopefully amicable resolve the matter through mediation - a voluntary, confidential mediation
process. Either you or HOP may invoke the mediation procedure by submitting a request to the
SVP or Senior Director of Human Resources. Mediation allows either you or HOP to seek to
resolve the dispute through a facilitated conversation before an independent, experienced neutral
mediator whom you and HOP will jointly select from the American Arbitration Association
(AAA), a well - respected provider of dispute resolution service. AAA mediation procedures will
apply. HOP will pay the costs and fees of mediation and you may, if you wish, be represented by
an attorney in the mediation, but you will be responsible for your own attorneys' fees.

       Step 3. {Final and Binding Arbitration)

        If a dispute cannot be resolved through mediation, either you or HOP may initiate final and
binding arbitration within six moths after you or HOP become aware, or should reasonably have
become aware, of the facts giving rise to the dispute, unless the dispute arises under a law that
provides an alternative filing period, in which case such period shall apply. Your request for
arbitration should be sent to the SVP or Senior Director of Human Resources.
         Arbitration offers a speedy, confidential and economical way for you and HOP to present
the dispute to an independent, experienced, neutral arbitrator whom you and HOP will jointly
select from the AAA arbitrator panel. The arbitrator will decide the dispute and his or her decision
will be binding on both you and HOP. The arbitrator has the same power to award the remedies
otherwise available in court. HOP will pay the costs and fees associated with the arbitration, and
you may, if you wish, be represented by an attorney in the arbitration, but you will be responsible
for your attorneys' fees.
         The dispute will be resolved by a single arbitrator to be held in City, State and County of
New York, unless you and the Company agree otherwise. Applicable AAA Employment
Arbitration Rules will apply except as otherwise specified in this agreement. In reaching his or her
decision, the arbitrator shall apply the governing substantive law applicable to the parties' claims
and defenses otherwise available in court and enforce HOP policies and procedures, as applicable.
(The Weblink for AAA is referenced in the attachment at the end of this letter. On this website
you will find useful information that explains these alternative dispute resolution procedures in
greater detail).
         Any dispute submitted to arbitration must be submitted only of behalf of you individually
or HOP, and neither you nor HOP shall have the right to obtain relief through a class or collective
action, or join or consolidate your dispute with the claims of any other person. The arbitrator shall
have no authority or jurisdiction to process, conduct or rule on any class, collective or private
attorney general proceeding, or to consolidate any individual claim in one proceeding absent
mutual consent of the parties.
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       Other Important Information
        This Dispute Resolution Procedure remains applicable even if you are no longer employed
by HOP at the time you assert a claim. By signing below, you agree (i) to mediate; and (ii) to
arbitrate, with arbitration being the sole, exclusive and final forum for any remedy. You
acknowledge you are waiving any right you may have to a court or jury trial.
       ***
       Your signature also indicates that you understand that you remain an employee at-will.
Either you or HOP may file a request with a court for injunctive relief to enforce this Dispute
Resolution Procedure. New York law shall apply to this agreement.

       According to the terms of the DRP, an attachment to the letter sets forth a list of disputes

"covered and excluded." The attachment provides in pertinent part that the DRP is applicable to

the following disputes:

       [a]II legal and equitable claims, demands, and controversies, of whatever nature or kind,
       whether in contract, tort, under statute or regulation, or some other law, between you and
       [Hermes] ... and its employees ... arising out of or related to (i) the terms and conditions
       of your employment with, or separation from [Hermes] ... ; (ii) any agreement (written or
       oral) now in existence or that may come into existence in the future between you and
       [Hermes] ... ; (v) claims arising from or related to alleged discrimination, harassment, or
       retaliation in employment (including, but not limited to, race, sex, sexual orientation,
       religion, national origin, age, marital status, physical or mental disability or handicap, or
       medical condition) under any federal, state and/or other governmental law, statute,
       regulation, and/or ordinance ... ; (vi) any claims relating to leaves of absence, benefits,
       compensation or post-termination benefits under federal, state and local laws ... 1




1The exclusions relate to claims for workers' compensation benefits, for unemployment
benefits, that are legally prohibited from being submitted to mandatory arbitration, under benefit
plans with their own claims procedures, and for injunctive relief to enforce the arbitration
provisions of the DRP. Also excluded are the exercise of statutory rights to participate in or
initiate proceedings before the National Labor Relations Board, the United States Securities
Exchange Commission, the United States Equal Opportunity Commission and " other state or
local fair employment practices agencies or other governmental agency, or to report any fraud or
other violation of law to any governmental agency or law enforcement body", provided that
Swain must submit all claims for individual monetary or injunctive relief to binding individual
arbitration "which will be [the] sole and exclusive avenue to obtain monetary or injunctive
relief."
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       Swain does not assert in connection with this application that the LAD claims he has raised

are outside the purview of the DRP. Instead, as discussed below, Swain contends that Hermes has

breached the DRP by failing to initiate, and advance the cost of, the arbitration.

       On July 18, 2016, counsel for Hermes transmitted to counsel for Swain a copy of the DRP

as a follow-up to a phone conversation. He stated that, under the DRP, Swain had agreed to

mediate any disputes and, if necessary, to submit such disputes to arbitration and that Swain had

waived any right to seek court intervention or a jury trial. He stated that Hermes intended to initiate

a mediation pursuant to the DRP.

       Counsel for Swain responded that he disagreed with Hermes's interpretation of the

agreement and considered it to set forth a voluntary procedure. He asserted that, in all events, the

DRP was not applicable to a claim under the New Jersey LAD.

        On July 19, 2018, counsel for the parties exchangea emails in which counsel for Hermes

advised that Hermes would initiate a mediation before the AAA under the DRP and attached the

completed form he was transmitting to the AAA. Counsel for Swain replied that Swain never

agreed to alternate dispute resolution of his LAD claims. He informed counsel that Swain had filed

his lawsuit and he would serve the suit papers in due course.

        As noted in their communications, Swain filed this action on July 19, 2016. At the same

time, Hermes initiated the external mediation procedure of the DRP by contacting the AAA. The

record contains a letter from the AAA in which it acknowledged "receipt on July 20, 2016 of a

Request for Mediation dated July 19, 2016" and assigned Case No. 01-16-0002-9429.

        On July 26, 2016, in response to a communication from the Director of ADR Services of

AAA, counsel for Swain advised that "absent a court order to the contrary, we are not a party to
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the purported mediation." When the AAA responded to both parties asking if the "the employer

wishes to waive the mediation provision in the contract", counsel for Hennes replied as follows:

               Under the tenns of the Dispute Resolution Procedure, Hermes initiated the
               mediation, has not waived it, and is ready, willing and able to participate in it. Mr.
               Hager [counsel] represents Mr. Swain and has advised the AAA that absent a court
               order to the contrary he is not a party to the mediation.

       On August 9, 2016, the Director of ADR Services of the AAA emailed counsel and

inquired as to the status of the parties' respective mediator selections in the case. She noted the

selections were due on August 8, but the AAA had not received submissions from the parties.

Counsel for Hermes responded as follows:

               Mediation can only go forward of both parties are willing participants. Since Mr.
               Swain has declared his intention not to participate in the mediation, it appears that
               the dispute cannot be resolved through the AAA's mediation services.

This exchange prompted the AAA to write to both parties confinning that the matter "has been

withdrawn."

       In the meantime, the battleground had shifted to court. Swain tendered his suit papers to

counsel for Hermes by letter dated August 4, 2016. On August 5, 2016, Hermes filed a Petition to

Compel Arbitration and Enjoin Pending State Court Action Pursuant to Section 4 of the Federal

Arbitration Act and Anti-Injunction Act in the United States District Court for the Southern

District of New York.

       Swain opposed the action initiated by Hermes in the Southern District of New York.

However, he did so on the grounds that the Court lacked subject matter and in personam

jurisdiction and that he had not voluntarily entered into the DRP. He also suggested in a court

conference that the "First Filed" Rule prevented the Court from compelling arbitration.

       On September 13, 2016, Chief Judge McMahon of the United states District Court for the

Southern District of New York issued a written opinion and Order granting Hennes' s Petition to
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compel arbitration. She determined that the District Court had jurisdiction over the subject matter

and Mr. Swain. She further concluded the DRP was valid and enforceable. In so holding, she noted

that Swain had not contended that his claims were outside the scope of the DRP. She rejected his

contention that his assent to the DRP was not voluntary, finding that Swain had not adduced any

evidence to so demonstrate. Judge McMahon denied Hermes's Petition insofar as it sought an

injunction against the New Jersey action.

        Swain appealed the District Court's ruling to the United States Court of Appeals for the

Second Circuit. At the same time, Hermes sought an Order dismissing this action. This Court

(Schott, J.S.C., ret.) issued an Order dated November 16, 2016 dismissing the Complaint without

prejudice pending the outcome of the appeal to the federal Court of Appeals.

        On August 14, 2017, the United States Court of Appeals for the Second Circuit affirmed

the District Court. In so holding, the Court noted that "[o]n appeal, Swain does not contest the

arbitrability of his dispute with Hermes, arguing instead that the district court lacked subject matter

jurisdiction due to a lack of complete diversity of citizenship."

        Since the affirmance by the Court of Appeals, neither Swain nor Hermes has taken action

to initiate an arbitration. The parties' dispute as to which of them had and has the obligation to do

so is at the heart of this application.

Conclusions of Law

        Distilled to its essentials, Swain contends that the Court should reinstate his Complaint

because Hermes has breached its obligations under the DRP. He asserts that, under that agreement,

Hermes was required to initiate the arbitration before the AAA and to advance the filing fees and

other costs of the arbitration. He asserts it has failed to do so. Accordingly, under the recent holding

of the Supreme Court in Roach v. BM Motoring, LLC, 228 N.J. 163 (2017), he contends the
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arbitration agreement is unenforceable and he is now permitted to seek a judicial resolution of his

LAD and other claims.

       According to Swain's argument, the DRP expressly provides that either party "may

initiate" an arbitration. Inasmuch as Swain sought relief in the courts, Swain contends that, if

Hermes wanted an arbitration, it was obliged to initiate the same. Swain asserts that, at minimum,

the contractual phrase "may initiate" is ambiguous and should be construed against Hermes to

require the latter in all the circumstances here to commence the arbitration. Swain further contends

that, after Hermes initiated the mediation process and after the District Court and Court of Appeals

ordered the parties to arbitration, it was then, under the parties' agreement, incumbent upon

Hermes, not Swain, to commence the arbitration proceeding.

        Swain argues that Hermes has breached the DRP by failing to initiate the arbitration,

rendering the DRP unenforceable. He further asserts that, because the DRP requires Hermes to

bear the fees and costs of any arbitration, Hermes further breached the DRP by failing to advance

the costs of an arbitration.

        Swain argues that Roach is an intervening precedent which establishes that Hermes's

failure to advance the fees and costs of arbitration is a material breach of the DRP. He contends

that such failure by Hermes vitiates any obligation Swain might have had to accept an arbitral

resolution of his LAD claim.

        Indeed, Swain asserts that, by invoking the DRP in court proceedings, but then failing to

initiate and advance the costs of the arbitration as required, Hermes has improperly sought to

frustrate Swain's right to a judicial forum and to a judicial adjudication of his LAD claims. In all

the circumstances, he urges the Court to find that the DRP is unenforceable as a contract of

adhesion.
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         Even to summarize Swain's position on this motion is to reveal its inherent legal and logical

flaws. Swain importunes the Court to read the phrase "either you [Swain] or HOP [Hermes] may

initiate" an arbitration as somehow compelling Hermes - and only Hermes - to initiate an

arbitration proceeding, despite the manifestly permissive and mutual nature of this language.

         Moreover, there is no reason in law or logic to read this text in a manner that would impose

upon the party - Hermes in the circumstances here - that is not seeking any relief or remedy against

the other an affirmative obligation to initiate an arbitration, or any other proceeding for that matter.

This construction places far more weight on the phrase "may initiate" than it can bear. Indeed, to

read the provision to require Hermes, in a matter in which it is not seeking any affirmative relief

against Swain, to initiate the arbitration proceeding or lose its rights under the DRP is, in effect, to

require Hermes to initiate an action against itself. Although the Court finds the DRP clearly

permitted Hermes to initiate the arbitration if it wished to do so to protect its right to an arbitral

forum, the agreement simply does not require Hermes to take that action at peril of losing that

right.

         Swain's proferred construction of the text also ignores the language of the DRP providing

that arbitration is the "sole, exclusive and final forum" for any remedy as between the parties and

that Swain waives and right to a court or jury trial. To read the DRP to permit a party seeking relief

against the other for a claim or matter covered by the DRP to pursue that relief in a court unless

the other party first initiates an arbitration is to countenance conduct directly at odds with both the

plain letter and spirit of the DRP and to render nugatory the language expressly declaring

arbitration to be the exclusive forum for resolution of covered disputes. It is axiomatic that the

Court must construe the text of an agreement as a whole and accord all of its terms independent

meaning.
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       When the Court gives all the terms of the DRP their intended effect, it is readily apparent

that the phrase "may initiate" means that, in the event of a dispute to which the DRP is applicable,

either party is permitted to commence an arbitration, though neither is required to do so. But, the

DRP also plainly requires that, if a party seeks a remedy against the other, that party must bring

the dispute to arbitration in accordance with the DRP.

       This is certainly true in circumstances - present here - in which the counter - party invokes

that DRP and makes clear its desire for a dispute resolution in accordance with the agreement.

Indeed, in this case, Hermes could not have made it any clearer that it was invoking its rights under

the DRP to have the matter resolved in accordance with the procedures set forth in that agreement.

Via counsel, Hermes informed Swain's counsel of its intent to invoke the DRP and initiate

mediation before or contemporaneously with Swain's filing of his Complaint in this Court. Hermes

then initiated the mediation under the DRP. When the AAA inquired as to the status of the matter,

it advised the AAA and Swain that it was ready, willing and able to proceed with the mediation

step called for by the DRP.

        As Swain proceeded to serve his papers relating to his lawsuit in this Court, Hermes

promptly went to the federal court in New York seeking - successfully - to enforce the DRP and

compel Swain to proceed to arbitration. Thereafter, Hermes resisted Swain's appeal of the District

Court's Order. It also moved - successfully - in this Court for dismissal of the Complaint in

deference to the District Court's ruling and the DRP.

        In all the circumstances, the Court concludes the plain letter of the DRP required Swain,

not Hermes, to initiate the arbitration if he wanted an adjudication of his claims. Under the

procedural mechanism set up in the agreement, Swain was required to do so by sending a notice
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to Hermes's SVP or Senior Director of Human Resources. It was and is only upon receipt of such

notice from Swain that Hermes was required to act to notify AAA of the need for its services.

        Had Hermes refused to proceed to arbitration upon receipt of such a notice from Swain

initiating the arbitration, then Swain would have a legitimate basis for a claim of breach. But, in

the circumstances here, in which Swain failed to deliver the required notice initiating the

arbitration process, the Court cannot conclude that Hermes was obligated to initiate an arbitration

or that it breached the DRP by failing to do so.

        There is also no basis on which to find that Hermes breached the DRP by failing to advance

the filing fees and costs of an arbitration. First, the DRP required Hermes to "pay" - not advance

- the fees and costs of an arbitration. As no arbitration is yet in progress, there were and are no

fees and costs to pay. The record reflects that Hermes was willing to proceed with the mediation

step and there is no basis in this record on which to conclude that it would not have satisfied its

obligation to bear the costs of either that phase or an arbitration if and when it were asked to do

so.

        Swain's position is also at odds with a reasonable interpretation of the outcome of the prior

litigation between the parties. Hennes sought relief in the District Court to compel Swain to initiate

the arbitration in order to press his claims. The Court granted that relief. To suggest, as Swain

does, that the District Court's Order was somehow a directive to Hermes and not Swain to initiate

an arbitration is fundamentally at odds with the nature and purpose of the proceedings in that court

and the clear import of the Court's ruling.

        As Hermes notes in its papers on this application, Judge Schott even questioned why Swain

was not acting in contempt of the District Court' s order by opposing Swain's motion to dismiss

this case and thereby seeking to continue his prosecution of this case. In all events, the Court did
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dismiss this case, only preserving the right of Swain to return to this Court should the Court of

Appeals for the Second Circuit reverse the District Court's Order compelling arbitration. Of

course, that is not what happened.

       Nor does Roach provide succor for Swain's attempt to reinstate his Compliant. Although

the Supreme Court may have ploughed some new ground in that case, its holding has no bearing

on the circumstances here.

       In Roach, two plaintiffs had purchased used automobiles from the defendant. Each signed

a Dispute Resolution Agreement that provided for resolution of disputes by arbitration before a

retired judge or attorney under the rules of the AAA. The agreement further provided that the

dealership would advance both parties' shares of the filing fees and costs of the arbitration, subject

to later adjustment depending upon the results of the arbitration.

       The plaintiff Jackson demanded arbitration of a claim he asserted under the New Jersey

Consumer Fraud Act, N.J.S.A. 56:8-1, et seg. The AAA tendered multiple demands to the

defendant for the fees and costs of the arbitration, but the defendant failed to respond. The AAA

dismissed the arbitration demand due to failure to pay the filing fees and costs.

       The second plaintiff in Roach first sought relief in the courts. The court dismissed her

complaint, directing the matter to arbitration. When she then initiated the proceeding, the AAA

refused to accept the matter due to the defendant's past failure to comply with its rules and

procedures.

       The defendant contended the AAA was not an appropriate forum and venue contemplated

by the parties for the arbitral resolution of disputes under the identical agreements at issue. It

asserted the fees charged by the AAA for its services were excessive.
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       The trial court dismissed the plaintiffs actions and required both plaintiffs to pursue

arbitration in accordance with the agreement. The court ordered the parties to attempt to revive

their demands for arbitration with the AAA. When they did so, the AAA accepted the matters. The

Appellate Division affirmed the trial court.

       The Supreme Court reversed and reinstated the plaintiffs' Complaints. The Court first

determined that the plaintiffs were permitted under the terms of the arbitration agreement to direct

their demands for arbitration to the AAA, inasmuch as the agreement specifically referred to the

rules of the AAA, the AAA maintained a list of retired judges and attorneys who could serve as

arbitrators and a rule of the AAA expressly provided that parties who agree to an arbitration

governed by the rules of the AAA thereby consent to an arbitration administered by or through the

AAA. The court concluded that the defendant "reasonably should have expected that customers

would file claims directly with the AAA." 228 NJ. at 179.

       Concluding that a breach of a material term of an agreement relieved the non-breaching

party of its obligations under such agreement, the court then considered whether a failure by a

party to advance the filing fees and other costs of the arbitration was such a material breach of the

agreement, relieving the counter-party of the obligation to arbitrate. The court expressly noted that

it had not previously addressed this issue.

        After pointing out that, under the Federal Arbitration Act, 9 U.S.C. Sec. 1-16, the court

must "keep arbitration agreements on 'equal footing' with other contracts", 228 NJ. at 174, the

court turned to decisions from the Ninth and Tenth Circuits in which courts held that the failure of

a party to an arbitration agreement to pay the fees for the proceeding was a material breach. Sink

v. Aden Enters.. Inc., 352 F.3d 1197, 1201-1202 (9th Cir. 2003) (employer defaulted in the

arbitration because its 11 failure to pay required costs of arbitration was a material breach" of the
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parties' agreement); Brown v. Dillard's. Inc .• 430 F.3d 1004, 1012 (9th Cir. 2005) (business's

refusal to participate in "properly initiated arbitration proceedings" precludes that business from

later enforcing the arbitration agreement); Pre-Paid Legal Servs.• Inc. v. Cahill, 786 F.3d 1287,

1294 (10th Cir.), cert. denied, 136 S. Ct. 373 (2015) (employee "breached the arbitration

agreement by failing to pay his fees in accordance with AAA rules").

       The court determined that the "benefit expected under an arbitration agreement is the

ability to arbitrate claims." 228 N.J. at 179. As a result, "(a] failure to advance required fees that

results in the dismissal of the arbitration claim deprives a party of the benefit of the agreement.

Therefore, the failure to advance fees 'goes to the essence' of the [arbitration agreement] and

amounts to a material breach." Id. at 179-180. The court also held that the " defendants' failure to

pay the AAA fees or respond to plaintiffs' arbitration demands was not only problematic, but also

did not comport with the standards of good faith and fair dealing. Ibid.

        In so holding, the court reasoned that "[w]e share the concerns of the Ninth Circuit

as expressed in Brown that, without a finding of material breach, the result would be a 'perverse

incentive scheme' -    a company could ignore an arbitration demand and, if the claimant did not

abandon the claim, later compel arbitration." Id. at 180-181. At the same time, however, the court

concluded that "[t)e determination of whether refusal or failure to respond to a written arbitration

demand within a reasonable time period constitutes a material breach of an arbitration agreement

that precludes enforcement by the breaching party must be made on a case-by-case basis after

considering the agreement's terms and the conduct of the parties." Id. at 181.

       The circumstances here are not remotely comparable to the circumstances in Roach. There,

the parties seeking relief demanded an arbitration in accordance with the underlying agreement.

After they took that action, the responding party refused to cooperate. Despite multiple notices
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from the AAA as to payment of the filing fees and other costs. the responding party refused to pay,

prompting the AAA to refuse to accept the case. This record of non-cooperation with the arbitration

process caused the court to conclude that the responding party forfeited its right to an arbitral

forum. reasoning that the responding party had deprived the opponents of the benefits of the

arbitration agreement - an arbitration of their claims.

       It was only in this context that the court concluded that to hold otherwise would confer a

perverse incentive upon a recalcitrant party to ignore an arbitration demand and then invoke

arbitration in an effort simply to frustrate the opponent's efforts to secure relief. Even so. the court

expressly noted that it would be necessary to examine future claims of breach of an arbitration

agreement on a case-by-case basis in order to determine whether it is appropriate to refuse to

enforce such agreement in light of the parties• conduct..

        In contrast. Swain did not commence and has not yet commenced an arbitration. The AAA

has not asked for payment of its filing fees and costs. It has not dismissed or threatened to dismiss

an arbitration for failure to pay its fees and costs. Moreover. the record on this motion indicates

that Hermes communicated to both the AAA and Swain that it was ready, willing and able to

proceed with the mediation phase. There is no basis on this record to conclude it would have

refused to cooperate with the AAA in an arbitration - including by promptly honoring all requests

for fees and costs - had Swain initiated the proceeding in accordance with the DRP and the District

Court's ruling.

        Finally. Swain appears to contend that there is a clear trend in New Jersey law against

arbitration agreements in cases like this one involving claims under the LAD. However. the Court

discerns no such trend. Indeed. given the requirements of the Federal Arbitration Act. it is difficult

to see how there could be such a trend. In any event. to the degree that Swain contends this
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arbitration agreement is an unenforceable contract of adhesion, he could and should have raised

any such arguments in the District Court and on appeal. He is foreclosed from doing so here and

now.
